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                         UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

In re
                                               Case No. 16-bk-11983-REF
TIMOTHY DOUGLAS HAYES,
                                               Chapter Number: 7
                   Debtor.

315 BOWERY HOLDINGS, LLC and
CBGB FESTIVAL, LLC
                                                Adversary No. 16-186
                   Plaintiffs,
         v.                                     JOINT STATUS REPORT
TIMOTHY HAYES,
                   Defendant.


         Pursuant to the Court’s December 23, 2016 Order in this Adversary Proceeding

(Adv. Dkt. No. 33), by which the Court stayed the Nondischargeability Action pending a final

determination and judgment in the New York state court action SW Productions, Inc. v. CBGB

Festival, LLC, No. 652990/2014 (Sup. Ct. N.Y. County 2014) (the “New York Action”),

Plaintiffs 315 Bowery Holdings, LLC and CBGB Festival, LLC (together, “CBGB”), and Debtor

Defendant Timothy Douglas Hayes, through their undersigned counsel, hereby submit this Joint

Status Report outlining the status of the New York Action since the Court’s December 2016

Order.

         1.     On April 5, 2017, counsel of record for 315 Bowery Holdings, LLC and CBGB

Festival LLC; Stuart Weissman and SW Productions Inc. (“SWP”); and Numbers and Figures,

Inc., Productions New York City, LLC and Jennifer Douglas appeared for a preliminary

conference before the Honorable Justice K. Oing in the New York Action. Hayes did not attend

the preliminary conference, and has not yet appeared through counsel or otherwise in the New

York Action.

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       2.      At the preliminary conference the court entered a Preliminary Conference Order

setting forth certain dates governing discovery in the New York Action (“The Preliminary

Conference Order”). The Preliminary Conference Order set an end date for all disclosure for

September 15, 2017.

       3.      The represented Parties are presently working towards completing document

discovery and scheduling depositions in accordance with the deadlines set forth in the

Preliminary Conference Order. The deposition of Stuart Weissman has been scheduled for June

13, 2017. Certain non-party subpoenas have been issued, and a production of documents from at

least one such non-party has been received.

       4.      On April 20, 2017, 315 Bowery Holdings, LLC and CBGB Festival LLC re-filed

its Second Amended Answer, the pleading that sets forth the amended third-party complaint,

inter alia, against Hayes and others (the “Third-Party Complaint”). The Third-Party Complaint,

as re-filed, was served on Hayes on April 24, 2017.

Respectfully Submitted: May 1, 2017

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